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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division


 UNITED STATES OF AMERICA

                        v.                               Case No. 1:23-MJ-32

 JAMES GORDON MEEK                                       Filed Under Seal

                        Defendant.


AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Tonya Sturgill Griffith, being duly sworn, depose and state as follows:

                                         BACKGROUND

       1.      I am a Special Agent with the FBI and have been since February of 2002. As such,

I am authorized to investigate violations of laws of the United States, and to execute warrants

issued under the authority of the United States. Since July 2010, I have been assigned to the

Washington Field Office’s Child Exploitation and Human Trafficking Task Force. As an FBI

Special Agent, I investigate federal violations concerning child pornography, the sexual

exploitation of children, sextortion, and related offenses. I have gained experience through training

and work related to conducting these types of investigations. I am a trained and certified digital

extraction technician for the FBI.

       2.      This affidavit is submitted in support of a criminal complaint charging JAMES

GORDON MEEK with transportation of child pornography, in violation of 18 U.S.C. § 2252(a)(1).

That statute prohibits any person from “knowingly transport[ing] or ship[ping] using any means

or facility of interstate or foreign commerce or in or affecting interstate or foreign commerce by

any means including by computer or mails, any visual depiction, if the producing of such visual

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depiction involves the use of a minor engaging in sexually explicit conduct, and such visual

depiction is of such conduct.”

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers, witnesses, and/or

agencies. Because this affidavit is being submitted for the limited purpose of demonstrating

probable cause in support of a criminal complaint, I have not included every fact known to law

enforcement concerning this investigation. Rather, I have set forth certain facts intended to

establish probable cause to support the complaint.

                                 SUMMARY OF PROBABLE CAUSE

A.    Initiation of Investigation

       4.      The investigation was initiated from an investigative lead sent to the Washington

Field Office’s Child Exploitation and Human Trafficking Task Force. The lead stated that on

March 11, 2021, Dropbox filed a CyberTip with the National Center for Missing and Exploited

Children (NCMEC) regarding child pornography found in a Dropbox account on March 10, 2021.

The CyberTip reported that a Dropbox account user had uploaded five videos to Dropbox that

were later confirmed by law enforcement to contain child pornography. The username associated

with the account was “James Meek,” and the CyberTip contained IP addresses that were

subsequently determined to be assigned to MEEK, at an address in Arlington, VA (MEEK’s

RESIDENCE).

       5.      Based on this and other investigative information, a search warrant was obtained

for MEEK’s RESIDENCE. On April 27, 2022, the search warrant was executed at MEEK’S

RESIDENCE by members of the Washington Field Office Child Exploitation and Human

Trafficking Task Force. MEEK alone was present at the RESIDENCE; law enforcement officers



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believe that the RESIDENCE had no permanent residents other than MEEK at the time. Several

electronic devices were collected from the residence and subsequently searched.

B.     Evidence of Transportation of Child Pornography

       6.      Law enforcement seized an iPhone 8 from an entry table by the door to MEEK’s

RESIDENCE. The device was powered on and password protected at the time it was located and

collected.

       7.      The iPhone 8 contained three chat conversations in which the username “Pawny4”

was engaging in sexually explicit conversations where the participants expressed enthusiasm for

the sexual abuse of children. In two of those conversations, Pawny4 received and distributed child

pornography image and video files through Kik, an internet-based messaging platform.

       8.      Forensic review of the iPhone 8 showed that between February 26, 2020, and

February 27, 2020, Pawny4 and USERNAME 21 exchanged child pornography and messaged on

Kik about their mutual interest in the sexual exploitation of children. USERNAME 2 identified as

a 25-year-old male, and when Pawny4 asked, “Love kids?”, USERNAME 2 responded, “Yesss”

and “mmmm im glad I found someone likeminded”. Pawny 4 and USERNAME 2 exchanged

pictures of their penises and continued their conversation (spellings as in original):

               USERNAME 2: Youre so sexy. I want your cock while those kids suck me
               USERNAME 2: Its so beautiful
               USERNAME 2: I love your cock
               Pawny4: Have you ever raped a toddler girl? It’s amazing
               USERNAME 2: itsmy dream
               Pawny4: Do you have any pictures of bitches?
               USERNAME 2: I want you with me fucking her together while we kiss and use
               her
               USERNAME 2: I have a vid
               Pawny4: I would give anything to do that
               Pawny4: Show it


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         The usernames used throughout this affidavit are known to law enforcement but are
omitted to protect the integrity of ongoing law enforcement investigations.
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               USERNAME 2: Sadly not as young as id like
               Pawny4: Send me a video so I can see you stroking that gorgeous cock

       9.      USERNAME 2 then sent Pawny4 a video focused on the genital area of an apparent

minor female depicting a female using her fingers to masturbate her vagina. The female appeared

to be between a pre-adolescent and adolescent, and there was no visible hair on her visible pubic

region. The female stated several times during the video, “Daddy fuck me”.

       10.     Shortly thereafter, USERNAME 2 told Pawny4 “Id give anything to rape toddlers

with you”. Pawny4 responded “I think I’m in love with you” and sent a video that was 1 minute

and 14 seconds in length depicting an erect penis penetrating the anus of a female infant.

Throughout the duration of the video, the infant can be heard loudly crying and screaming. The

man continues to rape the infant despite her screams and becomes more forcible in the penetration

of her anus as the video progresses. Shortly after sending this video, Pawny4 said “I wish I could

lick up all that cum all over that little baby that he just raped”. Pawny4 later stated “I wish you

came on a toddler we just raped hard” and “Wishing I was licking your cum off a bald labia”.

Pawny4 sent USERNAME 2 at least one more image and one more video depicting child

pornography.

       11.     Between February 26, 2020, and February 28, 2020, Pawny4 and USERNAME 3

exchanged child pornography files and messaged on Kik about the sexual exploitation of children.

USERNAME 3 identified himself as a 22-year-old male, and when Pawny4 asked “Love kids?”,

USERNAME 3 responded, “I do”. Pawny4 sent an image of a prepubescent girl on the beach with

her chest exposed, and then stated “Rape this little bitches mouth with that gigantic cock”.

USERNAME 3 responded, “I’d love to get her little throat bulging”. Pawny4 shared an image of

a nude woman breastfeeding two infants at the same time and shared his fantasies about raping the

woman, licking USERNAME 3’s semen off the woman and her children, and impregnating the

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woman. Pawny4 also referenced another conversation he was having with a 21-year-old woman

who wanted him to impregnate her so that they could sexually abuse their child together.

         12.   Pawny4 and USERNAME 3 continued to chat about masturbating and wanting to

see each other. Pawny4 stated “Just to be able to spread my semen all over some nice big fat tits

and a naked little girl would be a dream come true. Start raping her ass in infancy and try to get

my cock inside her pussy by age 3 as her mother masturbates next to us”. On February 26, 2020,

Pawny4 sent to USERNAME 3 the same video depicting the anal rape of an infant discussed

above.

         13.   Pawny4 sent USERNAME 3 via Kik approximately four additional images

depicting child pornography. The last image of child pornography, depicting a prepubescent girl

with apparent semen on her stomach immediately above her exposed genitalia, was sent on the

morning of February 27, 2020.

         14.   The telephone number connected to the SIM card in the iPhone 8 was the same

number that law enforcement had previously determined was associated with MEEK’s Dropbox

and Gmail account. The device name was “Bone Machine”, and the sync host name was

“Computer: crimson ghost\User: JAMES G. MEEK”. 2 The Gmail address associated with the

Dropbox account listed in the CyberTip was found on the iPhone8, associated to a Dropbox

account and an iCloud account. The iPhone 8 contained a Skype account with the username

“8:meekwire” and the account name “@meekwire”. Finally, the phone included health data for

MEEK.

         15.   Travel records and evidence from the iPhone 8 indicate that from February 24,




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        The sync host name indicates the iPhone 8 was connected to a device named “crimson
ghost” under the user profile “JAMES G. MEEK”.
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2020, to February 28, 2020, MEEK was located in the area of Charlotte, North Carolina and/or

Rock Hill, South Carolina. American Airlines records demonstrate that MEEK traveled on a flight

from Charlotte, North Carolina, to Ronald Reagan Washington National Airport, within the

Eastern District of Virginia, on February 28, 2020, at 12:57 PM.

       16.     Evidence from the iPhone 8 indicates that MEEK carried this phone with him

during his travel from North Carolina to Virginia. For example, text messages recovered from the

phone indicate it was used to send several text messages throughout the period of MEEK’s travel.

Among other evidence, the phone contained a message dated February 26, 2020, MEEK texted a

friend that he was in South Carolina, as well as messages dated February 28, 2020, in which MEEK

discussed going to the airport, as well as MEEK’s messages to family members coordinating their

joining him at his residence in Virginia that evening.

       17.     Additionally, on or about October 25, 2021, Kik provided records related to the

Pawny4 account that indicated that the device used to access the Pawny4 Kik account was an

iPhone. Kik also provided IP addresses used to access the account during the relevant time frame.

From between February 24, 2020, and approximately 12:52 PM UTC on February 28, 2020, open-

source information indicates the IP addresses geolocated to locations in North and South Carolina.

The next IP address used to access the Pawny4 Kik account several hours later geolocated to

Arlington, Virginia.

       18.     Furthermore, I know from my training and experience and from information

provided by Kik, that a user can only be logged into a Kik account from one device at a time. If

the user logs into their Kik account from another device, the Kik account will be logged out on the

first device and chat messages are deleted.

       19.     Between at least February 25, 2020, and March 9, 2020, Pawny4 also engaged in a



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Kik chat with USERNAME 1 in which he described a fantasy of abducting, drugging, and raping

USERNAME 1 when she was a 12-year-old girl. Pawny4 also sent USERNAME 1 images of

women breastfeeding. At least some of this conversation occurred within two hours of when

MEEK used the phone to communicate with his family member.

       20.     Law enforcement also located approximately 100 additional images depicting

children engaged in sexually explicit conduct on the iPhone 8. Most or all of these images were

thumbnails and/or stored in cache memory.

C.     Other Evidence of Distribution of Child Pornography

       21.     Law enforcement also seized a 2TB Silicon Power external hard drive from

MEEK’s kitchen table during the execution of the search warrant. A review of the external hard

drive indicated that it primarily contained back-ups of images and videos from other devices.

Several folders were labeled “i6”, and there were folders titled “i5c lacie only”, “i4a”, “i4d”, “i5a”,

“i6 lacie only”, and “i8pix080718a”. The folder labeled “i8pix080718a” contained a subfolder

called “Bone Machine”, which was the device name for MEEK’s iPhone 8. Based on my training

and experience, the structure and names of these folders indicate they were organized by iPhone

model. There were also several zip files that were labeled with “iCloud Photos” followed by a

number and “.zip”, for example “iCloud Photos 26.zip”. Based on my training and experience,

the folders and zip files indicate these folders are backups for pictures and videos from an iCloud

account.

       22.     The external hard drive contained an image titled “IMG_6817.PNG” that depicted

a screenshot of the messaging application Telegram on an Apple device. The image was stored at

the location pipehitter\0-iphone pix backup072220\iCloud Photos 6, which, as discussed, appears

to indicate that the image was saved down to the hard drive from an iCloud backup. At the top of



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the screenshot, the date on the Apple device was displayed as Sunday, April 5. The messaging

application depicted the different chat threads on the left side, and the contents of a group chat on

the right side. The top chat thread, which was the thread that was displayed on the right side, was

titled “Cocks, Cunts, and Kids.” The group’s profile picture depicted a child eating a popsicle.

The contents of this group chat were partially visible behind a bubble depicting the names of the

group chat members. There were 13 members in the group chat and two were active at the time

of the screenshot.

       23.     The last message sent on the group chat was from the user of the messaging

application on the device where the screenshot was taken. In the second-to-last message in the

group, another user in the chat had commented that people in the group were not sharing videos

and photos anymore. The last message, sent in response, contained at least one video. The frozen

frame of that video depicted a young girl performing or about to perform oral sex on a man’s

visible erect penis, with a circle with a triangle in the center of the image indicating that it was a

video. The user sending this video also stated, “Not everyone is as prolific as you.” This message

was sent at 11:07 AM, and it contained two check marks indicating the message had been delivered

to the server, and that a user had opened the chat since the message had been delivered.

       24.     A search warrant for MEEK’s iCloud account was obtained on November 14, 2022.

The iCloud account contained backups of at least two of MEEK’s devices, and the contents of the

backup included significant numbers of photos of MEEK’s family members and bills addressed to

him at his known residence. During a review of the search warrant return, law enforcement located

another copy of this screenshot. This second image contained metadata reflecting the image’s

creation on April 5, 2020, at 11:07 AM UTC.

       25.     Another image located during the review of the iCloud search warrant return



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depicted the Woodrow Wilson Bridge as seen from the vicinity of Jones Point Park in Alexandria,

Virginia, within the Eastern District of Virginia. That image was created with the rear camera of

an iPhone 8 on April 5, 2020, at 17:52 UTC. This image indicates MEEK was located in the

Eastern District of Virginia at the time the child pornography video was distributed on Telegram,

as discussed above.

       26.     The external hard drive also contained an image titled “IMG_5333.PNG”, saved in

a folder titled “iphone pix backup”, which depicts a screen shot of an iPhone with the open

applications/window shown as tiles. The open windows include the Safari internet browser with

“Omegle” website displayed (other evidence, discussed below, indicates that MEEK used Omegle

to chat with and attempt to chat with purported minors); a photo album with the heading “Tandies”

with several breastfeeding images visible (the iPhone 8 contained an Instagram account with the

username “TandiesClare” that purported to be collecting images of and stories about women

breastfeeding, one of MEEK’s known interests); the Kik application; and a window that is only

partially visible that appears to be the internet-based chat application Telegram.

       27.     The apparent Telegram tile shows a chat log containing several images on the right

side of the chat, indicating they were sent from the user of that account. The images appear to be

videos, as they include time stamps in the upper left corner. The images were sent at 1:33 PM and

contain two check marks indicating the message had been delivered to the server and that the

conversation had been opened once the message was present.

       28.     The sent images are consistent with child pornography. Also visible is a still image

of a video that appears to be 1:30 in length. Based on my training and experience, I know this to

be part of a series of child pornography images and videos known to law enforcement and

contained in a NCMEC database of identified children.



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       29.     This image shows a created date of January 12, 2022, but law enforcement believes

this is the date that the image was either saved to the hard drive or to the iCloud backup, not the

date the photo was taken.

D.    Evidence of MEEK Engaging with Minors and Suspected Minors Through Snapchat

       30.     Forensic review of MEEK’s iPhone 8 revealed that the phone contained a Snapchat

account with the username “hoolijax,” as well as several Snapchat conversations with unidentified

females. A review of an iPhone 6 seized from MEEK’s RESIDENCE revealed the Snapchat

username “hoolijax” had a Snapchat story associated with this phone.

       31.     A review of the Snapchat conversations stored on the iPhone 8 revealed a Snapchat

conversation from between February 29, 2020. and March 2, 2020, between “hoolijax” and

IDENTIFIED MINOR 2. IDENTIFIED MINOR 2 was a minor in 2020.

       32.     The stored communications did not appear to be the entirety of the Snapchat

conversation, and the conversation only contained text messages (i.e., there were no pictures or

videos found). The communication started with hoolijax asking “Who do you love most in the

world?” IDENTIFIED MINOR 2 responded with the name of a public figure (“public figure 1”).

Hoolijax went on to say, “She’s worthy of that big love. You are a beautiful girl and she should

feel blessed that you love her more than anyone.” Later in the conversation, hoolijax stated, “I

know someone who knows her really well. I thought I could help you. I won’t ask you anymore

questions.” IDENTIFIED MINOR 2 then responded, “What” and “What did she say”. Hoolijax

went on to say “She talked to my friend about you”, “She doesn’t hate you”, and “I’ll find out

more tomorrow from him”.

       33.     The iPhone 8 also contained an image titled “5003.JPG” that depicts a screenshot

of a Snapchat photograph. The image depicts the username for IDENTIFIED MINOR 2 on the



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top of the image, and the image is focused on the nude body of IDENTIFIED MINOR 2. The

breasts, abdomen, and pelvic area of IDENTIFIED MINOR 2 are visible. At the bottom of the

image is a text banner that states “Tell [public figure 1] to talk to me or I am getting Snapchat”.

The creation date for the image was December 15, 2019.

       34.     A review of images from the external hard drive revealed approximately 11 images

of IDENTIFIED MINOR 2. One image, titled IMG_3379.PNG and dated January 12, 2022,

(likely the date the image was saved to the hard drive) depicted a screenshot of a Snapchat image.

IDENTIFIED MINOR 2’s Snapchat username was visible at the top of the image. The image

depicted IDENTIFIED MINOR 2 with her shirt pulled up to expose her breasts, and her pants

pulled down to expose her pubic region. The bottom of the image contains a text banner that states

“Who’s little girl do I belong to”. Two additional images also displayed IDENTIFIED MINOR

2’s pelvic area, but her vagina was not visible through the pubic hair.

       35.     Law enforcement interviewed IDENTIFIED MINOR 2, who confirmed that MEEK

and other men had approached her through Snapchat and had pressured her to provide pictures

depicting sexually explicit conduct.

       47.     Review of the electronic devices seized during the search warrant has also resulted

in significant evidence that MEEK has engaged directly, and attempted to engage, with minors

online on platforms and applications other than Snapchat.

       48.     Law enforcement located images of MEEK video chatting with self-identified

minors on Omegle on the external hard drive. Omegle is a communication platform in which a

user can be randomly matched with another user for an anonymous text communication, video

communication, or both. It is possible for Omegle users to enter search terms that make it more

likely to be matched with certain categories of people, including likely minors.



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        49.    For example, an image on the external hard drive titled “IMG_6957.JPG” depicts

the screen of another device. Visible on that screen is an Omegle video chat. The other person in

the chat (identified as “Stranger” per Omegle convention) identified themselves as 14 years old in

the text portion of the chat and provided their Kik username. MEEK’s portion of the video chat

was also visible in the image. MEEK’s nude abdomen, legs, and penis were visible. MEEK can

be seen holding his penis with his left hand. This image was taken with an Apple iPhone 6, and

the creation date of the image was December 20, 2016. A file on the external hard drive titled

“IMG_7388.JPG” depicts a similar Omegle chat in which the other participant in the chat

identified herself as 15 years old and provided a Snapchat username. MEEK’s nude abdomen, legs,

and penis were again visible, and MEEK was again holding his penis in his left hand. In this image,

however, the video display of the other user was visible, and a female’s breasts were exposed. This

image was taken with an Apple iPhone 6, and the creation date of the image was December 28,

2016.

        50.    Also on the external hard drive, law enforcement located a screen shot titled

“IMG_0095.PNG” of a text conversation on an unknown platform. In the text conversation, a user

from whose point of view the text conversation was captured asked “Age?”, and the other user

responded “I don’t want to say lol”. The first user stated, “Say” and “It’s fine”, and the other user

responded, “Ok, I’m basically 15”. The first user then asked, “Would you let me kiss you?”. Those

are the only portions of this text conversation visible in the screenshot.

        51.    Law enforcement also located on the external hard drive several images depicting

screen shots of Instagram conversations. Based on the language and the text of the conversations,

as well as the display picture showing what appeared to be a minor female, it appears that MEEK

was using an account with the display name “taytayjadar” in which he posed as a minor female to



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communicate with other minors on Instagram and solicit pictures.

       52.     For example, law enforcement located screen shots of a chat in which taytayjader

received pictures from a girl who appears to be a minor. The screen shot conversation revealed the

other girl did not want to expose her breasts, and taytayjader responds, “ok why did u say u wud???

Maybe I wouldn’t show mine” and “I trust u”. The other girl then responds, “Fine ill show u my

boobs”. In another screenshot, Taytayjader said “I like this one the best but I thot u were gonna

pose without the shorts lol.” Later, when the other user asks “will u take ur panties off? So I can

rub my face in there”, taytayjader responds “if u wanna see u know what pic u should send next

lol”. Although the order of the pictures cannot be determined due to the way the chat was

recovered, the girl sends pictures of her exposed breasts, a picture of herself wearing a bra, and

pictures of the girl’s covered genital region and buttocks.

       53.     Finally, the external hard drive contained hundreds of screen shots of girls’ social

media accounts. Some of these accounts appear to be from dating apps. Many of these accounts

depict child erotica; for example, the external hard drive contained at least dozens of screenshots

from various social media applications depicting girls doing splits.

F.    Possession of Child Pornography

       54.     During the search of MEEK’s RESIDENCE, law enforcement also located an

Apple laptop in the living room area on a trunk to the right of the couch. A review of the images

and videos on the computer revealed that approximately 90 images and videos of child

pornography were located on the device. For example, one video compiles multiple clips,

including a scene where an adult female places her tongue on a naked toddler’s vagina and a scene

where an adult male inserts his penis into a toddler’s vagina. This video was located in a

Downloads folder on the computer’s hard drive.



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       55.    A review of the external hard drive revealed approximately 58 images and videos

of child pornography. For example, one image depicted a nude prepubescent boy with a strap

around his face with a device forcing his mouth open; his hands are bound to his feet. The boy is

wearing a “Santa Claus” style hat with a bow pictured around his waist above his penis. Another

series of images depicted IDENTIFIED MINOR 1 in progressive states of undress, culminating in

a picture of her genitals. The pictures of IDENTIFIED MINOR 1 appear to have been saved to the

hard drive in November 2014.

       56.    As previously discussed, the images and videos of child pornography located on

the external hard drive were located in folders that were organized by the respective iPhone

backup.

       57.    Law enforcement located 1B15 (an iPhone 6) in MEEK’s bedroom on top of the

nightstand. A review of the images and videos on the device revealed approximately 34 images

and videos of suspected child pornography, though law enforcement has not been able to

conclusively establish the age of the individuals depicted. For example, an imaged titled

IMG_9205.PNG depicts what appears to be an adolescent female with her vagina exposed, and

the focal point of the image is on her vagina. The word “Love” is superimposed on the image.




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                                         CONCLUSION

       58.      Based upon the above information, I respectfully submit there is probable cause to

believe that JAMES GORDON MEEK transported child pornography, in violation of 18 U.S.C.

§ 2252(a)(1).




                                             Respectfully submitted,


                                             ____________________________________
                                             Tonya Sturgill Griffith
                                             Special Agent
                                             Federal Bureau of Investigation


Sworn and subscribed before me by reliable telephonic means
pursuant to Fed. R. Crim. P. 4.1 this 31st day of January, 2023.

Lindsey Vaala Digitally signed by Lindsey Vaala
              Date: 2023.01.31 15:04:58 -05'00'

_________________________________
HON. Lindsey R. Vaala
UNITED STATES MAGISTRATE JUDGE




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